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IN THE UNITED STATES DISTRICT COURT rf
FOR THE WESTERN DISTRICT OF TENNESSEE []5 _¢?;_PR 20 F}f] g: 5
WESTERN DIVISION
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,-n‘-<, .. 1 .. cT.
PATRICIA HERRING, MARY KURYLO, W.D. or= rN, Mn\npazs
and GLORIA TAYLOR, l
Plaintiffs,
v. No. 02-2994 B

INTERNATIONAL PAPER CoMPANY,
ALL IP sEVERANCE PLANS and THosE
PLANS' ADMrNisrRAroR, JEROME M. CARTER,

Defendants.

 

ORDER GRANTING DEFENDANTS' MOTION FOR JUDGMENT ON THE
ADMINISTRATIVE RECORD, DENYING PLAI`NTIFFS' MOTION FOR SUMMARY
JUDGMENT, AND DISMISSING CASE

 

This lawsuit has been brought by the Plaintiffs, Patricia Herring, Mary Kurylo and Gloria
Taylor, against their former employer, Intemational Paper Company ("IP"), along with the IP
Salaried Employee Severance Plan (the "Plan") and Jerome N. Carter, the Plan administrator,
alleging violation of the Employee Retirernent Income Security Act, 29 U.S.C. § 1132(@), et L:g_.
("ERISA") and the Tennessee Human Rights Act, Tenn. Code Ann. § 4-21-10!, e_t W_. ("THRA").
On March 17, 2004, the Court granted the Defendants' motion for partial summary judgment as to
the Plaintiffs' claims under the THRA and §§ l 140 and 1132(21)(3) ofERISA. In a scheduling order
entered April 20, 2004, the Court directed the parties to submit their cross motions for judgment on
the administrative record relative to the remaining issue in this case, denial of severance benefits
The Plaintiffs Were employed by IP in its Employee Service Center ("ESC") in Memphis,
Tennessee. (Admin. R. at SP- 0002. ) As of December 31 2001 the last date of their employment

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at ESC, Herring was 57 years old and had 17 years experience with IP while Kurylo and Taylor were
both 54 with 35 years of service. (Admin. R. at SP-OOOS,) It is not disputed that the Plan is an
employee benefits plan governed by ER_ISA. (Compl. at 11 5 .) fn 2001, IP entered into an agreement
with EXult, Inc. (“Exult"), a human resources and employee benefits outsourcing firm, for the
purchase of ESC. (Admin. R. at SP-0016.) Prior to closing the sale, Exult offered the Plaintiffs, as
well as other ESC employees, a position which they accepted. (Admin. R. at SP-0016-17.)

The Plaintiffs alleged in their complaint that at the time of the termination of their
employment with IP all health and welfare benefits to which they were entitled as IP employees
ceased Moreover, they contended that, as long-term IP employees, they were fully vested in lP's
pension plan and had anticipated future employinth with the company in order to continue the
accumulation and accrual of pension benefits so as to draw the maximum amount upon attaining full
retirement age. Upon their termination from IP, their ability to accrue benefits under the pension
plan ceased and they were not permitted to remain participants therein. Benefits offered by Exult
were, according to the Plaintiffs, inferior to those available to employees of IP, a Fortune 500
company. The Plaintiffs insist some of their fellow employees received payments outside the Plan
while they were forced to either face involuntary termination without receipt of severance benefits
or employment with Exult at reduced benefitsl The Plaintiffs filed claims with IP for severance
benefits, which were denied. The instant lawsuit ensued on December 24, 2002.

Prior to reaching the merits of the parties' motions, the Court must as an initial matter address
the request of the Plaintiffs that the administrative record be supplemented to include certain
documents obtained by the Plaintiffs from Exult through a third-party subpoena. According to the

Declaration of Carolyn Howard, counsel for the Plaintiffs, the subpoena was issued on April 15,

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2003 and the documents were received on July 29, 2003. E Decl. of Carolyn Howard, Att'y for
Pls., Ex. A to Pls.' Statement of Undisputed Facts. As the materials Were obtained by the Plaintiffs
after lP issued its decision on appeal, the documents could not have been presented to the
administrator on the original claim or the appeal Thus, they cannot be considered by the Court in
this action. §_ee_ Peruzzi v. Summa Med. Plan1 137' F.3d 431, 433-34 (6th Cir. `1998).

The Court now turns to the merits of the parties' claims. A participant in an ERISA-covered
plan may bring a civil action "to recover benefits due to [her] under the terms of [her] plan, to
enforce [her] rights under the terms of the plan, or to clarify [her] rights to future benefits under the
terms ofthe plan." 29 U.S.C. § 1132(a)(1)(B). The standard ofreview in cases involving denial of
benefits under ERISA plans is well establishedl "In cases in which a plan administrator is given no
discretionary authority by the plan, review of the plan administrator's decision by the district court
. . . is d_e M, with respect to both the plan administrator's interpretation of the plan and the plan
administrator's factual findings.“ Wilkins v. Bantist Healthcare SvS.` Inc., 150 F.3d 609, 6l6 (6th
Cir. 1998).

"When conducting a § w review, the district court must take a 'fresh look' at the
administrative record but may not consider new evidence or look beyond the record that was before
the plan administrator." id The de np_v_o standard "differs from the arbitrary and capricious standard
of review that is used when a benefits plan gives the plan administrator discretionary authority to
determine eligibility for benefits or to construe the terms of the plan." _I_d_. at 616 n.4.

The arbitrary and capricious standard, by contrast, is the "least demanding form of judicial

 

lAlthough the Plaintiffs' pleading is captioned as a “motion for summary judgment," the
Court will convert the motion into one for judgment on the pleadings in accordance with

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review." Administrative Comm. of the Sea Rav Emnlovees' Stock Ownershin and Profit Sharina
Plan v. Robinson, 164 F.3d 981, 989 (6th Cir. 1999), Lrtm, 528 U.S. 1114, 120 S.Ct. 931, 145
L.Ed.2d 810 (2000). "A decision regarding eligibility for benefits is not arbitrary and capricious if
the decision is ‘rational in light of the plan's provisions."' Lee v. MBNA Long Term Disabilitv_&
Benetit Plan, No. 04-3105, 2005 WL 705771, at *9 (6th Cir. Mar. 29, 2005) (citing Daniel v. Eaton
mg 839 F.2d 263, 267 (6th Cir. 1988)). "Stated differently, 'when it is possible to offer a reasoned
explanation, based on the evidence, for a particular outcome, that outcome is not arbitrary and
capricious.'“ id (citing Davis v. Kentuckv Fin. Cos. Retirement Plan, 887 F.2d 689, 693 (6th Cir.
1989)). “In interpreting a plan, the administrator must adhere to the plain meaning of its language
as it would be construed by an ordinary person." Under this standard, the Court "must accept a plan
administrator's rational interpretation of a plan even in the face of an equally rational interpretation
offered by the participants.“ Morgan v. SKF USA1 Inc.1 385 F.3d 989, 992 (6th Cir. 2004), pg m
Lrt.M (73 U.S.L.W.3540)(Mar.4,2005)(1\10. 04-1191). The existence ofa conflict ofinterest,
that is, where sponsor and administrator of the plan are the same entity as IP is here, “does not alter
the standard, but should merely be considered as a factor in determining whether the plan
administrators decision was arbitrary and capricious." Recker v. Newcourt Credit Group, Inc., No.
02-2354, 2005 WL 513493, at *3 (6th Cir. Mar. 3, 2005). The Court in determining this matter is
confined to reviewing only those materials presented to the administrator and its appeals committee
Pe_ru_zzi, 137 F.3d at 433-34.

The parties are not in agreement as to the appropriate standard of review to be applied in this
case, with the Plaintiffs favoring a § w review and the Defendants the arbitrary and capricious
standard The Plan provides that "[t]he plan administrator has the authority, responsibility and

discretion to determine all questions of` eligibility and status and has the right to interpret the

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provisions of the Plan." (Admin. R. at SP-0095.) As the Plan clearly bestows upon the
administrator discretionary authority as to eli gibility, status and interpretation, the Court is required
to analyze this matter under the arbitrary and capricious standard §§e Marks v. Newcourt Credit
Group, Inc., 342 F.3d 444, 457 (6th Cir. 2003) (plan providing that administrator “shall have the
responsibility and discretionary authority to interpret the terms of the Plan, determine eligibility for
benefits . . ." called for application of arbitrary and capricious standard).

Under the terms of the Plan, an employee is eligible for a termination allowance if her
employment is ended because of

[c]losing, relocation or sale of a facility that does not result in an offer of a position

as of the date of` closing, relocation or sale that the company deems suitable, either
with the company, one of its subsidiaries or the purchaser of the facility in question;

[Of]

[c]losing, relocation or sale of a facility that results in an offer of a position as of the

date of the closing, relocation or sale that the company deems suitable, either with

the company, one of its subsidiaries or the purchaser of the facility in question which

requires relocation and which [she does] not accept. . .
(Admin. R. at SP-0093.) Conversely, a termination allowance is not payable upon

[c]losing, relocation or sale of a facility that results in an offer of a position as of the

date of closing, relocation or sale that the company deems suitable either with the

company, one of its subsidiaries or the purchaser of the facility in question, which

does not require relocation or which requires relocation and which you accept . . .
(Admin. R. at SP-0093.) A position is "suitable" under the Plan "if it is a position for which [thc
employee] is qualified based on [her] background, training or education.“ The acceptance of a
position by an employee "is conclusive evidence of` its suitability.“ (Admin. R. at SP-0094.)

ln letters dated April 26, 2002, IP denied the Plaintiffs' initial claims for severance pay,

stating in part as follows:

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The Severance Plan provides for a termination allowance to be paid to an employee
whose employment with International Paper has been involuntarily terminated due
to certain specified events. The Severance Plan provides, in pertinent part, that in the
event of` the sale of a facility, an employee will be entitled to a termination allowance
if such sale does not result in an offer of a position as of the date of sale that
International Paper deems suitable, either with lnternational Paper, one of
International Paper's subsidiaries or the purchaser of the facility. Under the
Severance Plan, a terminated employee‘s acceptance of a position is conclusive
evidence of its suitability.

Based on my knowledge of yourindividual situation, prior to the sale of lnternational

Paper's Employee Service Center business, you were made an offer by Exult, Inc., the

purchaser of such business, which you accepted Accordingly, you received an offer

of a suitable position in the sale of a facility and, under the terms of the Severance

Plan, are not eligible for severance benefits Your claim for severance benefits is

denied.

(Admin. R. at SP-0037 - 39.)

In his denial of the Plaintiffs' appeal, issued on October 22, 2002, J im Renfrow, IP's benefit
programs manager, noted with respect to the "suitability" of their employment with Exult and,
therefore, ineligibility for severance benefits that "Ms. Herring, Ms. Kurylo, and Ms. Taylor all state,
under oath in their June 25, 2002 Declaration, that they 'are all presently employed by Exult, inc. in
the unit that was formerly the Employee Service Center. There is no dispute that [Plaintiffs are]
qualified for [their positions] with Exult based on [their] background, training and education."
(Admin. R. at SP-0017.) The decision served the purpose of the Plan which was, he stated, "to
provide an unemployment benefit for persons who are out of work as the result of a sale." (Admin.
R. at SP-0017.)

lt is undisputed that the Plaintiffs were offered positions with Exult and that they accepted

those offers. While the Plaintiffs do not agree with IP that the positions offered were "suitable,"

there is no evidence to suggest the Plaintiffs Were not in fact qualified for the Exult positions "based

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on their background, training or education." Moreover, since the Plan administrator was clearly
aware of their acceptance of the positions offered at Exult, his finding that the Plaintiffs were
ineligible was rational with respect to the Plan's provision that such acceptance by an employee “is
conclusive evidence of [the position's] suitability." Thus, the plain language of the Plan clearly
supports the administrator's findings Indeed, the Plaintiffs appear to concede this point as they state
in their dispositive motion that "lP's Plan Administrator strictly followed the terms of the Plan in
regard to the three Plaintiffs." (Pls.' Mot. for Summ. J. and Mem. ofLaw in Supp. at 7.) Rather, the
Plaintiffs' argument focuses less on the Plan provisions themselves and more on the fact that the
denial of benefits was simpfy unfair, particularly in light of their long years of service to IP.

They refer the Court to the Second Circuit's decision in Gilbert v. Burlington Industries, Inc.,
765 F.2d 320 (2d Cir. 1985), M, 477 U.S. 90], 106 S.Ct. 3267, 91 L.Ed.2d 558 (1986), as
applicable to them and supportive of a finding that the Plan "would require payment to the Plaintiffs,
especially with the length of service they had," (Pls.' Mot. for Summ. J. and Mem. of Law in Supp.
at 7.) The closest the case comes, however, to supporting the Plaintiffs' claims is a statement in dicta
that "severance pay is often a reward for past service," relating to the question of whether the plan

at issue was an employee welfare benefit plan under ERISA. Gilbert, 765 F.2d at 325. Gilbert falls

 

far short of requiring as the Plaintiffs suggest, payment of severance benefits for past service
regardless of the Plan language

Similarly, the other case substantially cited by the Plaintiffs, Bradwell v. GAF Corp., 954
F.2d 798 (2d Cir. 1992), is unsupportive. In Bradwell, the successor corporation absorbed the seller's
severance pay policy. Bradwell, 954 F.2d at 801 . The court, noting a statement by the _(Mer_t court

that one ob'ective of severance lans is "to reward em lo ees for past service to the company,"
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articulated that "[b]ecause BASF absorbed the Severance Pay Policy, and under it severance
allowances upon layoff were to be based on continuous service including service to GAF, we do not
perceive that employees' service to the company was in any way disregarded by GAF's denial of
severance pay here.“ § The Plaintiffs argue that the premise applied in Bradwell should apply in
this case but in reverse. That is, that since "Exult did not absorb the IP plan under which unvested
severance allowances were based on continuous length of service, lP has disregarded all of these
Plaintiffs' service to the company." (Pls.' Mot. for Summ. J. and Mem. of Law in Supp. at 7-8
(emphasis in original).) The obvious difference between the Bradford plan and that at bar is that the
Plan in this case did gt_)_t provide for severance allowances to be based on continuous service. The
court in Bradwell did not require, as the Plaintiffs insist, that length of service must be considered
in interpreting severance provisions or that a successor company's failure to adopt a severance plan
which included consideration for length of service to the predecessor mandates a finding that benefits
are payable,2 This is a quantum leap the Court simply is not willing to make based on the language
ofBradwell. lt is further worth noting that both G_il_b@ and Bradwell were decided under the more
stringent § n_gg)_ standard of review.

The Plaintiffs also submit that the failure of IP to transfer the continued accrual of their
pension benefits militates in favor of a finding of arbitrary and capricious decision making The

Plaintiffs point to Bedinghaus v. Modern Graphic Arts. 15 F.3d 1027 (l lth Cir.), cert. denied, 513

 

2The court concluded that employees who retained their jobs under the new owner were
not entitled to severance pay from their previous employer, as “employees do not retain any
continuing right to severance payments after their operation is sold by their former employer.“
Bradwell, 954 F.2d at 801. The court indicated that its decision was "fortif[ied]" by the fact that
the employees' service with the previous owner was recognized under the severance pay policy.
Id.

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U.S. 963, 115 S.Ct. 426, 130 L.Ed.2d 339 (1994), a decision also utilizing the _d§_ n_o@ standard of
review,3 which the Court finds of little assistance to their case. In Bedinghaus, Times Publishing
Company ("the Times") sold substantially all of the assets of its wholly-owned subsidiary, Modern
Graphic Arts, lnc. ("MGA“), to another company which retained most of the fenner employees of
MGA in the same jobs at the same salaries, but did not give credit for years of service with MGA
for purposes of calculating severance benefits Bedinghaus, 15 F.3d at 1028. The severance policy
at issue provided that those discharged as “staffers" were entitled to benefits under the policy. l_d.
at 1029. The employee handbooks of the Times and MGA defined "staffer" as an employee of the
Times and its affiliates including MGA. li at 1029-30. The court found that, based upon the plain
meaning of the plan's terms, the plaintiffs were entitled to severance pay "when their employment
with MGA was terminated, regardless of whether they were employed by the entity that purchased
MGA‘s assets." l_d. at 1030. in noting that the plaintiffs lost credit for years of service with MGA,
the court cited and distinguished Bradwell, stating that "[h]ere, we are faced with a situation in which
plaintiffs‘ entitlement to severance pay was denied by MGA/Times and the new owner will not credit
plaintiffs' past service to MGA/Times for severance pay purposes We merely note that plaintiffs'
loss of severance pay benefits is a factor we considered in reaching our conclusion that plaintiffs are
entitled to benefits under either the Times' or MGA'S severance pay policy." Bedinghaus 15 F.3d
at 1030 (emphasis added). Therefore, at best, Bedinghaus stands for the proposition that loss of

benefits as a result of a sale is merely a factor the court may consider in a denial of benefits claim.

The Plaintiffs also cite Bedinghaus along with Bellino v. Schlumberger Technologies, Inc.,

 

3In fact, the court in Bedinghaus quickly distinguished, with little if any analysis, cases
cited by the parties in which the arbitrary and capricious standard was applied, stating that, for
that reason, they were not helpful in deciding the case before it. Bedinghaus 15 F.3d at 1032.

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944 F.2d 26 (l st Cir. 1991), reh'g denied (Nov. 20, 1991), for the view that leaving them only with

 

the choice of unemployment or a job at Exult automatically entitles them to severance pay.
However, neither support such a position. In M, the plaintiffs originally employees of
Schlumberger, became employed by National Semiconductor Corporation when the latter took over
work previously performed by Schlumberger. M, 944 F.2d at 30. Under Schlumberger's
benefit plan, severance benefits were payable upon its termination of an employeel l_d. The First
Circuit, again on § rig/g review, found that “termination" under the plan was defined "broadly and
encompasses those situations in which Schlumberger ceases to employ an individual lt is
uncontested that Schlumberger ended its employment relationships . . . Additionally, there is no
genuine dispute that [the] terminations were involuntary. Schlumberger did not give [the plaintiffs]
the option to remain as employees; they were to choose either resignation or employment with [the

successor].“ § In Bedinghaus, the court, citing Bellino, concluded that the term “discharged" in

 

the plan at issue included "those situations when an employee ceases to be a 'staffer,' that is, an
employee of the Times or one of its affiliates [The plaintiffs] were not given the option to remain
with the Times or MGA; they had to choose either resignation or employment with the new owner. "
Bedinghaus, 15 F.3d 1030-31. Thus, in these cases, the payment of benefits turned on whether the
plaintiffs' employment with the predecessor company had in fact ended. Evidence showing that
employees were not given the option of staying with the previous employer after a sale is important
to a court's determination under those circumstances Here, however, severance pay was based upon
the employee‘s failure to receive an offer of employment from the successor company, which was
not the case with the Plaintiffs

The Plaintiffs also aver that, while their claims were decided under the strict terms of the

Plan, other employees received payments in contravention with the Plan, to their benefit

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Specifically, the Plaintiffs contend that payments were made to certain individuals who worked for
ESC or IP's Mobile Kraft facility when they were sold by IP. With respect to the ESC employees
the payments were allegedly made pursuant to a "secret arrangement" known only to IP, Exult and
the affected employees themselves The fact that these payments were kept secret, even from the
affected employees1 managers is indicative, Plaintiffs insist, of their inconsistency with the Plan
provisions The Plaintiffs also assert that the Defendants permitted Mark Azzarello, director ofESC
who was offered a position with Exult, to remain with IP. Finally, they maintain that one ESC
employee, Sue Grassl-Harms, was offered an enhanced retirement package even though she
voluntarily retired and would not have been eligible for severance pay under the Plan. It is the
position of the Plaintiffs that it was arbitrary and capricious for IP to pemiit these individuals to
receive payment and to deny the Plaintiffs severance pay.4

The "secret arrangement" involved eight IP employees hired by Exult, including Linda
Dalton, Cynthia Starnes Jackie Hobson, Toya Tolliver, Toni Evans, Angela Bryant, Deedra Climer
and Ossie Thomas. The Plaintiffs “assume" the existence of a special arrangement based upon the
fact that these persons received a lump sum payment even though they did not qualify as 100%
vested under IP's retirement plan. According to the Plaintiffs five years of service was required for
minimum vesting in the pension plan and these individuals had not attained the required five years
vesting service with IP. The Plaintiffs aver that these payments must, then, have been a hidden form
of "severance" not made available to them.

From the Plaintiffs' own assertions it is clear they acknowledge that the terms of the Plan do

 

4While the Plaintiffs pointed in their appeal to other fellow employees whom they allege
received preferential treatment, the Court will address only those persons referred to in the
Plaintiffs' motion papers

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not apply to these individuals Nor is there any suggestion that they were paid under the Plan or were
entitled to any payment thereunder. Letters to each of the eight employees are included in the record
and state, in pertinent part, as follows:

The transition of the Employee Service Center to Exult resulted in the separation of

ESC employees from lntemational Paper effective December 31, 2001. As you

know, this separation left you only six (6) days short of being vested in the

Retirement Plan of International Paper Company (“Retirement Plan"). As a result,

International Paper has elected to pay you a grossed-up lump sum distribution of the

actuarial "net present value" of your unvested accrued pension.

(Admin. R. at SP-0058 - 0073.) Renfrow explained in his appeals decision that “[b]ecause these
eight employees were within one month of vesting in their accrued benefits under the Retirement
Plan, a business decision was made to compensate them for not vesting. This decision was approved
by the appropriate senior management and was unrelated to the Severance Plan or its administration
If [the Plaintiffs] had been in a similar situation, the company may have considered addressing their
situation." (Admin. R. at SP-0019.)

The Plaintiffs do not allege that they were in the same situation as those employees who
received the grossed-up lump sum distributionl l\/loreover, the evidence presented by the Plaintiffs
in support of their argument consists of a subpoena with attachments dated June 2004, some time
after this lawsuit was filed. There is no indication that the attachments to the subpoena were part
of the administrative record and, thus the Court cannot consider them. E_P_er_uzii, 137 F.3d at 433-
34.

The Plaintiffs have further maintained thatnine former employees of the Mobile Kraft facility

who, with IP's knowledge, had been offered and accepted positions with the purchaser of that unit

on the date of the sale received enhanced severance benefits under the Plan, in direct contradiction

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with the terms thereof, While the Plaintiffs were not afforded such consideration under the same

circumstances

ln the appeal documents Renfrow advised the Plaintiffs with respect to the Mobile Kraft

employees that

[d]uring the Mobile Kraft facility sale negotiations the business lost one of its major
customers At the same time, the potential buyer would not commit to employ the
existing workforce With the downturn in business lntemational Paper decided to
shut down the work at the facility. Employees were notified of the shutdown and
were given WARN notices relating to this action. Due to this involuntary
termination, the Mobile Kraft salaried employees were entitled to severance benefits
under the Severance Plan. The fact that the buyer may have employed certain former
Intemational Paper employees subsequent to the sale does not affect their entitlement
under the Severance Plan. . . . [T]his is a different location and different
circumstances

(Admin. R. at SP-0134.) The Plaintiffs contend in their motion that the "Defendants knew the
identity of the employees who would be employed by the buyer ofMobile Kraft before the transition
of that unit. Lists of those employees who had been offered employment by the buyer were
submitted to IP's ESC before their termination.'l (Pls' Statement of Undisputed Facts at 7.) The
assertion is supported only by the June 2004 declaration ofPlaintiff Herring and the lists referred to
do not appear in the administrative record. Thus, as they were not before the Plan administrator, the
documents cannot be considered §§_e PeLzzi_, 137 F.3d at 433-34. In any case, there is no
indication the Plaintiffs brought this allegation before IP in the claims process § Killian v.

Healthsource Provident Admin. Inc., 152 F.3d 514, 522 (6th Cir. 1998), reh'g denied (Aug. 7, 1998)

 

 

("There can be no dispute that in this circuit, in an ERISA claim contesting a denial of benefits the
district court is strictly limited to a consideration of the information actually considered by the

administrator. ").

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The refusal of Mark Azzarello of a position with Exult in favor of remaining with IP was
according to the Plaintiffs "evidence that IP did not keep the ESC organization intact or treat all
employees in a similar pattern . . ." (Pls.‘ Mot. for Summ. .l. and Mem. of Law in Supp. at 18.) They
refer the Court to that portion of the administrative record containing Renfrow's notes which
indicated that Azzarello was asked during the appeals investigation why he did not move to Exult
as a part of the sale. His reply was that "it is very common for any buyer to want to place its own
person in charge of a newly acquired facility. IP and Exult both offered Mark positions; Mark
elected to remain with IP." (Admin. R. at SP-0189.) lnitially, the Court is unable to discern what
connection Azzarello's situation has with the Plaintiffs' claim for severance pay, as there is no
allegation he received payment under the Plan. Nor can the Court find, based on the evidence before
it, that IP's decision to attempt to retain this management level employee was not rational.

The Plaintiffs next assert that IP employee Sue Grassl-Harms was offered severance payment,
presumably guised as a “Flex-G 'enhanced' retirement package" even though she retired voluntarily
and, therefore, should have been ineligible for severance benefits under the Plan. The Court cannot
consider the Plaintiffs' allegations concerning Ms. Grassl-Hanns, however, as they were not
presented to the Plan administrator. §§ Mn_, 152 F.3d at 522. Therefore, the Court cannot find
that the decisions made by the Plan administrator in denying the Plaintiffs' requests for severance
pay were arbitrary and capricious5

Finally, the Plaintiffs' arguments based on alleged violations of ERISA regulations are also

without merit. They submit that the Plan administrator failed to comply with Department of Labor

 

5Based upon the Court's finding that the administrator's decisions were not arbitrary and
capricious the Plaintiffs' contentions that the administrator's inconsistent application of the Plan's
provisions violated ERISA's reporting, disclosure and fiduciary requirements are also
unpersuasive

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regulations requiring that notification of a denial of benefits include a "description of any additional
material or information necessary for the claimant to perfect the claim and the explanation of why
such material or information is necessary." 29 C.F.R. § 2560.503-1(g)(1)(iii). The regulation does
not appear to have any application here, as it was the claimant, rather than the administrator, who
was of the opinion additional information was necessary. In denying the Plaintiffs' request for the
employment records of IP employees not involved in this lawsuit, Renfrow articulated that the
information requested was confidential and not relevant to the Plaintiffs' claims As the Plaintiffs'
have failed to convince the Court that the decision was arbitrary and capricious it will not be
disturbed

In sum, and for the reasons set forth herein, the Plaintiffs' motion for summary judgment is
DENIED, and the Defendants' motion for judgment on the administrative record is GRANTED. The
Clerk of Court is hereby directed to enter judgment for the Defendants.

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J. AN LBREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:02-CV-02994 was distributed by faX, mail, or direct printing on
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nssEE

 

Maurice Wexler

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165 Madison Ave.
Ste. 2000
1\/lemphis7 TN 38103

Bruce M. Steen
MCGUIRE WOODS7 LLP
100 North Tryon St.

Ste. 2900

Charlotte, NC 28202

Carolyn Howard

NORWOOD HOWARD & ATCHLEY
1407 Union Ave.

Ste. 807

Memphis TN 3 8 1 04--3 62

Honorable .l. Breen
US DISTRICT COURT

